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 1
                                        THE HONORABLE STANLEY A. BASTIAN
 2
     Catharine Morisset, WSBA #29682
 3   Suzanne K. Michael, WSBA #14072
     Clarence Belnavis, WSBA #36681
 4   FISHER PHILLIPS LLP
     1700 7th AVENUE, SUITE 2200
 5   Seattle, WA 98101
     Tel: 206-682-2308
 6   Attorneys for Defendant

 7

 8
                          UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF WASHINGTON
                                   AT YAKIMA
10
     DEMETRIOS VORGIAS,
11                                                NO. 1:21-cv-03013-SAB
                               Plaintiff,
12           vs.

13                                                DEFENDANT’S WITNESS &
     COMMUNITY HEALTH OF                          TRIAL SCHEDULE
     CENTRAL WASHINGTON,
14
                               Defendant.
                                                  Trial Date: 9/14/2022
15

16           Defendant Community Health of Central Washington, the Central

17 Washington Family Medicine Residency Program, (“CHCW”) submits this

18 Witness & Trial Schedule pursuant to ECF No. 106, titled “Order re: Witness and

19 Trial Schedule.” CHCW has incorporated Plaintiff’s proposed schedule, ECF No.

20 122.
                                                        FISHER & PHILLIPS LLP
      DEFENDANT’S WITNESS & TRIAL SCHEDULE            1700 SEVENTH AVENUE, SUITE 2200
      1:21-cv-03013-SAB - 1                                     SEATTLE, WA 98101
                                                      Tel: (206) 682-2308 | Fax: (206) 682-7908

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 1       Date            Witness                    Est. Direct                      Est. Cross
         9/14/2022       Plaintiff                  1 hour (Plaintiff)               1.5 hours
 2       9/14/2022       Rebecca Ward               30 minutes                       30 minutes
         9/15/2022       Ben Kitchens               20 minutes (Zoom)1               (MIL)
 3       9/15/2022       Caitlin Hill               20 minutes                       2 hours
         9/15/2022       Carlin Miller              20 minutes                       1 hour
 4       9/15/2022       Judith Harvey              20 minutes                       30 minutes
         9/15/2022       Kelly Cornett              1 hour                           30 minutes
 5       9/15/2022       Mark Bauer                 20 minutes                       30 minutes
         9/15/2022       Tess Ish-Shalom            20 minutes                       30 minutes
 6       9/16/2022       Douglas Coon               20 minutes                       30 minutes
         9/16/2022       Ed Prasthofer              20 minutes (Zoom)                30 minutes
 7       9/16/2022       David Bauman               20 minutes                       1 hour
         9/16/2022       Scott Whitmer              1 hour                           1 hour
 8
         9/16/2022       Cynthia Morales            20 minutes                       30 minutes
         9/19/2022       Saga Vijapura              20 minutes (Zoom)                30 minutes
 9
         9/19/2022       Dr. Powers                 2 hours                          TBD/Plaintiff
         9/19/2022       Laura McClintock           2 hours                          TBD/Plaintiff
10
         9/20/2022       Shelley Lewis              2 hours                          TBD/Plaintiff
11       9/20/2022       Dr. Ravneet Dhaliwal       30 minutes                       TBD/Plaintiff
         9/20/2022       Dr. Katina Rue             1.5 hours                        TBD/Plaintiff
12       9/21/2022       Dr Patrick Moran           1.5 hours                        TBD/Plaintiff
         9/21/2022       Dr. Dominick Nguyen        1 hour                           TBD/Plaintiff
13       9/21/2022       Dr. Ragina Lancaster       1 hour                           TBD/Plaintiff
              Respectfully submitted this 26th Day of August, 2022.
14
                                               By /s Catharine Morisset
15                                             Catharine M. Morisset, WSBA #29682
                                               Attorneys for Defendant
16                                             FISHER & PHILLIPS LLP
                                               1700 7th Avenue, Suite 2200
17                                             Seattle, WA 98101
                                               Tel: 206-682-2308
18                                             Fax: 206-682-7908
                                               cmorisset@fisherphillips.com
19
     1
         CHCW objects to any remote testimony, including Zoom, for any witness who resides within
20 the 100-mile limit of FRCP 45. Plaintiff must make some showing of unavailability/residence.
                                                              FISHER & PHILLIPS LLP
         DEFENDANT’S WITNESS & TRIAL SCHEDULE               1700 SEVENTH AVENUE, SUITE 2200
         1:21-cv-03013-SAB - 2                                        SEATTLE, WA 98101
                                                            Tel: (206) 682-2308 | Fax: (206) 682-7908

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 1                              CERTIFICATE OF SERVICE
 2           I hereby certify that on the date below written, I electronically filed the
     foregoing with the Clerk of the Court using the CM/ECF system and caused to be
 3
     served a true and correct copy of the same on:
 4
      Luan T. Le, pro hac vice
 5    Law Offices of Luan T. Le
      1190 S Bascom Avenue, Suite 213
 6    San Jose, CA 95128
      Email: ledowningllp@gmail.com
 7
      Seth W. Wiener, pro hac vice
      Law Offices of Seth W. Wiener
 8
      609 Karina Court
      San Ramon, CA 94582
 9
      Email: sethwiener@yahoo.com
10    William D. Pickett, WSBA #27867
      Larson Griffee & Pickett, PLLC
11    105 North 3rd Street
      Yakima, WA 98901
12    Phone: 509-972-1825
      Fax: 509-457-1027
13    Email: Bill@lgplawfirm.com
14    Attorneys for Plaintiff
15
             Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the
16 foregoing is true and correct.

17
             Executed August 26, 2022 at Seattle, Washington.
18

19                                    Jazmine Matautia, Legal Secretary
20
                                                          FISHER & PHILLIPS LLP
      DEFENDANT’S WITNESS & TRIAL SCHEDULE              1700 SEVENTH AVENUE, SUITE 2200
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                                                        Tel: (206) 682-2308 | Fax: (206) 682-7908

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